Case 2:18-cv-06742-RGK-PJW Document 47 Filed 08/30/18 Page 1 of 3 Page ID #:2804




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     9                      UNITED STATES DISTRICT COURT
    10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    11
         In the Matter of the Seizure of:           No.: CV 18-06742-RGK (PJWx)
    12
         Any and all funds held in Republic         [Related to Case Nos. 18-MJ-00712,
    13   Bank of Arizona Account(s) xxxx1889,       18-MJ-00713, 18-MJ-00715,
         xxxx2592, xxxx1938, xxxx2912, and          18-MJ-00716, 18-MJ-00718,
    14   xxxx2500.                                  18-MJ-00719, 18-MJ-00720,
                                                    18-MJ-00721, 18-MJ-00722,
    15                                              18-MJ-00723, 18-MJ-00724,
                                                    18-MJ-00751, 18-MJ-00797,
    16                                              18-MJ-00798, 18-MJ-00996,
                                                    18-MJ-00997, 18-MJ-01427, and
    17                                              18-MJ-1863]
    18                                              SCOTT SPEAR’S JOINDER IN
                                                    JAMES LARKIN’S OPPOSITION
    19                                              TO GOVERNMENT’S EX PARTE
    20
                                                    APPLICATION TO EXTEND
                                                    DEADLINE AND HEARING
    21
    22                                              Hearing Information
                                                    Date: September 24, 2018
    23                                              Time: 9:00 A.m.
                                                    Judge: Hon. R. Gary Klausner
    24                                              Place: Courtroom 850
                                                           255 E. Temple Street, 8th Fl.
    25                                                     Los Angeles, CA 90012
                                                    Assigned to Hon. R. Gary Klausner
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Case 2:18-cv-06742-RGK-PJW Document 47 Filed 08/30/18 Page 2 of 3 Page ID #:2805




     1   TO THE COURT AND ALL COUNSEL OF RECORD:
     2         PLEASE TAKE NOTICE THAT Scott Spear, by and through his counsel,
     3   will and hereby does join in James Larkin’s Opposition to the Government’s Ex
     4   Parte Application to Extend Deadline and Hearing (the “Opposition”) [DE 41],
     5   and adopts all of the positions set forth in the Opposition as if fully set forth herein.
     6         Mr. Spear joins in the Opposition because he is “so similarly situated to Mr.
     7   Larkin that filing an independent opposition would be redundant.” Tatung Co.,
     8   Ltd. V. Shu Tze Hsu, 217 F. Supp. 3d 1138, 1151 (C.D. Cal. 2016). Like Mr.
     9   Larkin, Mr. Spear holds an interest in assets that were seized pursuant to civil
    10   seizure warrants issued by magistrate judges in this District, and which are the
    11   subject of Mr. Larkin’s Motion to Vacate or Modify Seizure Warrants (the Seizure
    12   Motion”) [DE 6]. The Opposition raises issues that are directly relevant to and
    13   overlap with the seizures of Mr. Spear’s assets. All of the arguments made in the
    14   Opposition therefore apply with equal force to the seizure warrants issued against
    15   the assets in which Mr. Spear holds an interest.
    16                       Respectfully Submitted this 30th day of August, 2018.
    17
    18                                     BARTON, KLUGMAN & OETTING, LLP

    19                                     /s/ John K. Rubiner
    20                                     John K. Rubiner
    21
    22                                     FEDER LAW OFFICE, P.A.
    23
                                           /s/ Bruce Feder
    24                                     Bruce Feder
                                           Attorney for Scott Spear
    25
       . . .
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Case 2:18-cv-06742-RGK-PJW Document 47 Filed 08/30/18 Page 3 of 3 Page ID #:2806




     1                                PROOF OF SERVICE
     2
               I hereby certify that on the 30th day of August, 2018, I electronically
     3   transmitted SCOTT SPEAR’S JOINDER IN JAMES LARKIN’S
     4   OPPOSITION TO GOVERNMENT’S EX PARTE APPLICATION TO
         EXTEND DEADLINE AND HEARING to the Clerk of the Court via the CM/ECF
     5   system whose transmittal of a Notice of Electronic Filing (NEF) constitutes service,
     6   pursuant to the Federal Rules of Civil and Criminal Procedure, to the following
         CM/ECF registrants:
     7
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     9
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    26
         By: /s/ A. Jones

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